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                       UNITED STATE DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-CR-20668-DMM

  UNITED STATES OF AMERICA

                Plaintiff,
  vs.

   SUNIL CHOPRA,

            Defendant.
  ______________________________/

                   MOTION FOR PERMISSION TO RELOCATE

    COMES NOW the DEFENDANT, Sunil Chopra, by and through
  undersigned counsel, and respectfully moves this Court to grant his motion
  for permission to relocate to Reno, NV. In support thereof, Mr. Chopra
  would state the following:

        1. On May 26, 2020, Mr. Chopra filed an amended motion for
  compassionate release (DE 586). On July 24, 2020, the Court entered a
  revised order granting his motion (DE 627).

        2. In its order, the Court imposed a special term of supervised release
  equal to his remaining term of imprisonment. A special condition of this
  special term is home confinement with location monitoring. The Court
  ordered this special term to be followed by the originally ordered three-year
  term of supervision.
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       3. Pursuant to the special condition of location monitored home
  confinement, the Court ordered the defendant to wear an electronic
  monitoring device and follow the electronic monitoring procedures as
  instructed by the U.S. Probation Officer. The Court further stipulated that
  the defendant shall remain at his place of residence except for employment,
  religious observances, medical appointments, and other activities approved
  in advance and provide the U.S. Probation Officer with requested
  documentation.

       4. After his release from prison, Mr. Chopra secured employment as a
  logistics manager with Home Furniture International, a furniture designer
  and manufacturer serving the continental United States. In his position, he
  assists with the import, delivery, and distribution of the company’s
  shipments from Asia and works on pricing and negotiation with vendors.
  The company currently has one warehouse in Los Angeles, having had
  three warehouses before the pandemic.

       5. This Court previously granted Mr. Chopra’s motion for permission
  to travel for business purposes (D.E. 708), wherein, Mr. Chopra explained
  how his employer had offered him an opportunity to expand his
  responsibilities by assisting the company in planning and setting up a
  distribution and manufacturing hub in the Nevada area. He further
  indicated that he would be seeking the Court’s permission to relocate to
  Nevada in the near future (D.E. 705).

       6. Additionally, Mr. Chopra’s wife has received an employment
  transfer to Reno, Nevada effective February 1st, and will be required to
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  relocate to Reno by the end of February. The couple is planning to relocate
  on February 25th.

       7. Undersigned counsel has communicated with Mr. Chopra’s location
  monitoring officer, Shalimar Hooks, who does not oppose Mr. Chopra
  relocating to Nevada.

       8. Undersigned counsel has attempted to communicate with AUSA
  David Turken regarding the Government’s position on the motion but has
  not received any response.

    WHEREFORE the DEFENDANT respectfully requests this Honorable
  Court for the entry of an order giving him permission to relocate to Reno,
  NV on February 25th and transferring his location monitored home
  confinement to the District of Nevada.

    I HEREBY CERTIFY that a true and correct copy of the foregoing was
   furnished to AUSA David Turken, as well as all counsel of record via
   transmission of notices of electronic filing generated by CM/ECF, on this
   16th day of February 2022.
                                              Respectfully submitted,
                                              The Edelstein Firm
                                              4770 Biscayne Blvd., Ste. 1250
                                              Miami, Florida 33137
                                              Tel: 305.538.4545
                                              Fax: 305.535.7655

                                              BY:      s/David M. Edelstein
                                                       David M. Edelstein
                                                       Florida Bar No: 063665
                                                       Attorney for Defendant
